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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

   CAP-XX, LTD.,                               )
                                               )
                Plaintiff,                     )
                                               )
         v.                                    )     C.A. No. 19-1733-CFC-JLH
                                               )
   MAXWELL TECHNOLOGIES, INC.,                 )
                                               )
                Defendant.                     )

    CAP-XX, LTD.’S CROSS-MOTION, IN THE ALTERNATIVE, TO
  PRECLUDE MAXWELL TECHNOLOGIES, INC.’S FROM ASSERTING
         ANY OF ITS SALES WERE EXTRATERRITORIAL

        Should the Court grant Maxwell Technology, Inc.’s Motion to Strike (D.I.

  119), CAP-XX, Ltd. (“CAP-XX”), respectfully requests the Court preclude

  Maxwell from presenting evidence relating to extraterritorial sales. If the Court

  denies Maxwell’s Motion to Strike, then this Motion will be moot.

        CAP-XX disagrees with Maxwell’s position that the majority of its sales

  were extraterritorial and will present relevant evidence to the contrary at trial. For

  example, most of the sales of the Accused Products arose from offers for sale and

  sales made in the U.S., even though the customer may have been located overseas.

        CAP-XX provides the grounds for this Motion in its Brief in Opposition to

  Maxwell’s Motion to Strike Evidence of Infringement under 35 U.S.C. § 271(f) and
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  Preclude All Related Theories and in Support of its Motion to Strike Extraterritorial

  Damages Defense filed contemporaneously herewith.



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   Dated: May 17, 2022




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  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION

        The undersigned counsel certifies that this filing complies with the

  applicable type, font, and word limitations. According to the word processing

  system used to prepare it, the forgoing document contains 139 words, excluding

  the case caption and signature block. The text of this document, including

  footnotes, was prepared in Times New Roman, 14 point.



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